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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MICHAEL ANTHONY LINDSEY, No. CV 21-06441-DSF(AGR)
Petitioner,
ORDER OF DISMISSAL
V.

FELIPE MARTINEZ JR.,

Respondent.

 

 

On August 9, 2021, Petitioner proceeding pro se, filed a Petition for Writ of
Habeas Corpus by a Person in Federal Custody (“Petition”) pursuant to 28 U.S.C. §
2241. (Dkt. No. 1.)

On September 2, 2021, Petitioner filed correspondence stating that he “would like
to dismiss [his] petition to this honorable Court.” (Dkt. No. 4.)

IT IS THEREFORE ORDERED that Petitioner's request to voluntarily dismiss the
Petition for Writ of Habeas Corpus is granted and the Petition is dismissed. All pending
motions are denied as moot.

IT IS SO ORDERED.

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DATED: October 22, 2021 bdoe A. )cacwmer
DALE S. FISCHER
United States District Judge

 
